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                       UNITED STATES DISTRICT COURT

                            DISTRICT OF OREGON


KIP O’CONNOR et al,
                                                Case No. CV 11-1297 SI
                  Plaintiffs,
                                                MOTION TO DISMISS PURSUANT TO
                  v.                            FED.R.CIV.P. 12(b)(6) AND THE
                                                OREGON TORT CLAIMS ACT FILED
CLACKAMAS COUNTY et al,                         ON BEHALF OF CLACKAMAS
                                                COUNTY, MICHAEL MCCALLISTER,
                                                GARY HEWITT, STEVE HANSCHKA,
                  Defendants.                   AND KIM BENTHIN

                                                Request for Oral Argument

 MOTION TO DISMISS PURSUANT TO FED.R.CIV.P. 12(b)(6) AND THE
  OREGON TORT CLAIMS ACT FILED ON BEHALF OF CLACKAMAS
COUNTY, MICHAEL MCCALLISTER, GARY HEWITT, STEVE HANSCHKA,
                     AND KIM BENTHIN

                           Request for Oral Argument




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                                                                                    1
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              CERTIFICATE OF COMPLIANCE WITH L.R.7-1(a)

      Alexander Gordon, Counsel for Clackamas County, Michael McCallister,

Steve Hanschka, Gary Hewitt, and Kim Benthin, Defendants herein, informs the

Court that he has spoken with Mark E. Griffin, counsel for the Plaintiffs, regarding

the possibility of the Plaintiffs voluntarily dismissing their Complaint with

prejudice. The Plaintiffs are unwilling to do so.

                                        MOTION

      COME NOW Clackamas County, Michael McCallister, Steve Hanschka, Gary

Hewitt, and Kim Benthin, Defendants in the above Complaint and, within the time

provided by law, file this Motion to Dismiss the Plaintiffs’ claims against them,

pursuant to the authority of Fed.R.Civ.P. 12(b)(6) and the Oregon Tort Claims Act.

      On occasion, Michael McCallister, Steve Hanschka, Gary Hewitt, and Kim

Benthin, are, collectively referred to as the individual County Defendants. This

Motion is based on the pleadings on file and, as required by LR 7-1 (c), a supporting

Memorandum of Law filed contemporaneously with this Motion.

      Respectfully submitted this 24th day of January, 2012.

                                                       CLACKAMAS COUNTY COUNSEL

                                       ___________________________________
                                          Stephen L. Madkour, OSB # 941091
                                  County Counsel ,Clackamas County, Oregon
                                             Scott C. Ciecko, OSB No. 045587
                                                         /s/ Alexander Gordon
                                          Alexander Gordon, OSB No. 822671
                                         E-mail: agordon@co.clackamas.or.us
                     OF ATTORNEYS FOR DEFENDANT CLACKAMAS COUNTY
                             AND THE INDIVIDUAL COUNTY DEFENDANTS.

                            CLACKAMAS COUNTY COUNSEL
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                                                                                      2
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                           CERTIFICATE OF SERVICE

    I hereby certify that I have served the foregoing MOTION TO DISMISS
PURSUANT TO FED.R.CIV.P. 12(b)(6) AND THE OREGON TORT CLAIMS
ACT FILED ON BEHALF OF CLACKAMAS COUNTY, STEVE HANSCHKA,
MICHAEL MCCALLISTER, KIM BENTHIN, AND GARY HEWITT on:

Mark E. Griffin
Griffin & McCandlish
1631 NE Broadway, #721
Portland, Oregon 97232

      and

Daniel J. Rohlf
Pacific Environmental Advocacy Center
10015 SW Terwilliger Blvd.
Portland, Oregon 97219-7768

      [X]    by MAILING a full, true and correct copy thereof in a sealed, postage-
paid envelope, addressed as shown above, and deposited with the U.S. Postal
Service at Portland, Oregon, on the date set forth below;

    []  by causing a full, true and correct copy thereof to be HAND-
DELIVERED to the party the date set forth below;

        []    by EMAILING a full, true and correct copy thereof to the party, at the
email address shown above, which is the last-known email address for the party’s
office, on the date set forth below.

      []      by FAXING a full, true and correct copy thereof to the party, at the fax
number shown above, which is the last-known fax number for the party’s office, on
the date set forth below.

Dated this 24th day of January, 2012.
                                                   CLACKAMAS COUNTY COUNSEL


                                                   /s/ Anja Mundy
                                                   Anja Mundy, Legal Assistant


Page 1 – Certificate of Service
                            CLACKAMAS COUNTY COUNSEL
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